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,`_.)[§Q §1/
IN THE UNITED sTATEs DISTRICT coURT 05 D{f"
FOR THE WESTERN DIsTRICT 0F TENNESSEE mt _6 p
EASTERN DIVISION 2-' 43

LARRY JOHNSON,
Plaintiff,
v. No. 03-1232-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non-dispositive motions presently pending and/or filed during the course of this litigation.

IT IS SO ORDERED this ga`day of May, 2005.

 

J. DANIEL BREEN\
NIT D sTATEs DISTRICT JUDGE

This document entered on the docket sheet in co

with Ftute 58 and/or 79 (a) FRCP on §_[`q]l_g__§

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Honorable .1. Breen
US DISTRICT COURT

